          Case 3:20-cv-00103-LPR Document 7 Filed 11/06/20 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                NORTHERN DIVISION

WINDCHIMES BY RUSSCO III, INC.                                                      PLAINTIFF


v.                               Case No. 3:20-cv-00103-LPR


BIG LOTS STORES, INC.                                                             DEFENDANT


                                         JUDGMENT


       Pursuant to the Order entered on this day, it is considered, ordered, and adjudged that the

case is dismissed with prejudice. The Court shall retain jurisdiction to enforce the terms of the

settlement agreement in the unlikely event that an action to enforce it becomes necessary.

       IT IS SO ADJUDGED this 6th day of November 2020.




                                                    ________________________________
                                                    LEE P. RUDOFSKY
                                                    UNITED STATES DISTRICT COURT
